          Case 1:21-cr-00073-BAH Document 29 Filed 03/12/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :              Case No. 21-Cr.- 73-1 (BAH)

v.                                             :

NICHOLAS DECARLO                               :

Defendant.                                     :

                         DEFENDANT’S UNOPPOSED MOTION TO
                            MODIFY RELEASE CONDITIONS

       Defendant Nicolas DeCarlo is currently on pretrial release, subject to certain conditions,

including GPS monitoring, a curfew, and regular reporting to Pretrial Services. He movement is

also restricted to the Northern District of Texas. The defendant’s pretrial release Order (DE 27)

is attached hereto for ease of reference. The defendant requests permission to be allowed to

travel outside of the Northern District of Texas for purposes of employment. The undersigned

contacted Government counsel who does not oppose this request. The parties propose that the

release order be amended to allow Mr. DeCarlo to travel anywhere in the State of Texas for work

purposes, so long as he provides his Pretrial Services officer notice of the trip forty-eight hours

in advance, as well as where he will be staying. The defense also requests that the curfew not

apply during any such trips. An appropriate draft Order is attached hereto for the Court’s

consideration.



                                                      Respectfully submitted,

                                                      Robert Feitel
                                                      _____________________________
                                                      Robert Feitel, Esquire
                                                      Law Office of Robert Feitel
                                                      1300 Pennsylvania Avenue, N.W.
                                                      #190-515
         Case 1:21-cr-00073-BAH Document 29 Filed 03/12/21 Page 2 of 2




                                                    Washington, D.C. 20004
                                                    D.C. Bar No. 366673
                                                    202-450-6133 (office)
                                                    202-255-6637 (cellular)
                                                    RF@RFeitelLaw.com



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via ECF to Assistant United States
Attorney Christopher Berridge, 555 4th Street, N.W. Washington, D.C. this 12th day of March,
2021.

                                             Robert Feitel
                                             ___________________________
                                             Robert Feitel
